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                                      ATTACHMENT A
                            Statement of Facts: Carlos DeAngelo Bell

        The United States and the Defendant stipulate and agree that if this case proceeded to trial,
the United States would prove the facts set forth below beyond a reasonable doubt They further
stipulate and agree that these are not all of the facts that the United States would prove if this case
proceeded to trial.

        In November 2016, the Charles County Sheriff's Office began an investigation after
receiving a report from a concerned citizen that Carlos DeAngelo BELL, an Instructional Assistant
at Benjamin Stoddert Middle School ("Stoddert"), and a track and field coach at La Plata High
School, was concealing his identity and having improper sexually explicit electronic
communications with minors on the track team. Both schools are located in Charles County,
Maryland. As a result of the information learned during the course of the investigation, Charles
County Sheriff's Office Deputies executed a search and seizure warrant at Carlos DeAngelo
BELL's residence, located at 3353 Jonathan Court, Waldorf, Charles County, Maryland on
December 22, 2016. Charles County Sheriffs Deputies seized computers, tablets, cellular
telephones, and other physical evidence from the residence. Deputies subsequently interviewed
BELL, where he acknowledged that he is HIV-positive.

        Maryland State Police began a digital forensic examination of the digital media recovered
from BELL's residence. At least 42 minors between the ages of 11 and 17 were discovered to
have been recorded by BELL in locations including BELL's residence, his vehicle, and Stoddert.
As a result of the digital forensic analysis and over 100 interviews, investigators learned that BELL
engaged in the following conduct:

                   Assumed the online identities of a minor male or a minor female to solicit from
                   minors images and videos of the same minors engaging in sexual conduct;
                   Convinced minors that they could be involved in a Chicago-based gang, and
                   ritualistically struck nude minor victims as a form of violent initiation into the
                   gang;
                   Routinely provided marijuana and alcohol to male Stoddert students, including
                   prior to producing images of their sexual exploitation; and
                   Surreptitiously recorded different minor males masturbating in BELL's
                   bedroom, as well as surreptitiously recorded minor males engaging in the act of
                   apparent vaginal intercourse with a silicone sex toy in the shape of the pelvis of
                   a female, provided by BELL.

         BELL produced the following images and videos of the sexual exploitation of ten minor
males:

            Count 1 - [victim's name and title of video withheld to protect victim l's identity] is.
               a video recovered from BELL's iMac computer that shows victim 1 in BELL's
              bedroom engaged in apparent vaginal intercourse with a silicone sex toy provided
              by BELL, with BELL present in the room and simultaneously slapping the toy;

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   Count 2 - [victim's name withheld to protect victim 2's identity] is a video entitled
     IMG 0003.mov, recovered from BELL's iMac computer, which shows BELL at
     Stoddert receiving fellatio from victim 2 and ejaculating in victim 2's mouth;

   Count 3 - [victim's name withheld to protect victim 3's identity] is a video entitled
     IMG_7930.mov, recovered from BELL's iPhone 6 Plus, which shows BELL at
     Stoddert using his hand to stimulate victim 3's exposed penis;

   Count 4 - [victim's name withheld to protect victim 4's identity] is a video entitled
     IMG 1474 mov, recovered from BELL's iMac computer, which shows BELL at
     Stoddert using his penis to repeatedly arially penetrate victim 4;

   Count 5 - [victim's name withheld to protect victim 5's identity] is a video entitled
     Video SEP 27.5 52 40 PM.mov, recovered from BELL's iMac computer, which
     shows victim 5 in BELL's bedroom engaged in apparent vaginal intercourse with
     the silicone sex toy provided by BELL, while BELL surreptitiously streams a live
     video feed from the camera of his iMac, located in his bedroom, to a television
     where BELL watches from the common room just outside BELL's bedroom;

   Count 6 - [victim's name withheld to protect victim 6's identity] is a video entitled
     IMG 1748.mov, recovered from BELL's iMac computer, which shows BELL
      recording himself, victim 6, and another minor male nude and masturbating in
     BELL's bedroom;

  Count 7 - [victim's name withheld to protect victim 7's identity] is a video entitled
    IMG 2714.mov, recovered from BELL's iMac computer, which shows BELL
    recording himself and victim 7 in BELL's bedroom nude and masturbating, and
    victim 7 engaged in apparent vaginal intercourse with the previously referenced
    silicone sex toy provided by BELL;

  Count 8 - [victim's name withheld to protect victim 8's identity] is a video entitled
    IMG 1747.inov, recovered from BELL's iMac computer, which shows BELL
    recording himself, victim 8, and another minor male nude and masturbating in
    BELL's bedroom;

  Count 9 - [victim's name and title of video withheld to protect victim 9's identity] is
    a video recovered from BELL's iMac computer, which shows BELL setting up
    the camera in his bedroom, then using a sex toy in the likeness of an adult female
    head with mouth to perform apparent fellatio on victim 9, then BELL masturbates
    in the bed next to victim 9, then BELL performs fellatio on victim 9;

   Count 10 - [victim's name withheld to protect victim 10's identity] is a video entitled
     IM03220.mov, recovered from BELL's iMae computer, which shows victim 10 in
     BELL's bedroom engaged in apparent vaginal intercourse with the previously



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               referenced silicone sex toy provided by BELL, while directed by BELL, who
               himself is masturbating.

BELL is not wearing a condom in any of the described videos, which were all produced since
BELL began employment at Stoddert in 2014.
                                               ***



          have read this Attachment A and carefully reviewed every part of it with my attorney. I
understand it, and I voluntarily agree to it. I do not wish to change any part of it. I am completely
satisfied with the representation of my attorney.


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Date                                          Carlo eAngelo Bell


       I am Carlos DeAngelo Bell's attorney. I have carefully reviewed every part of this
Attachment A. He advises me that he understands and accepts its terms. To my knowledge, his
decision to enter into this agreement is an informed and luntary one.



Date                                          James Crawford, Esq.




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